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                                  MINUTES



 CASE NUMBER:          CR NO.17-00101LEK
 CASE NAME:            USA vs. (01) ANTHONY T. WILLIAMS
 ATTYS FOR PLA:
 ATTYS FOR DEFT:
 INTERPRETER:


      JUDGE:     Leslie E. Kobayashi         REPORTER:

      DATE:      11/26/2018                  TIME:


COURT ACTION: EO: COURT ORDER REGARDING DEFENDANT’S “WRIT
OF OBJECTION AND REJECTION OF THE ERADICATION OF THE TRIAL
DATE”

       On November 17, 2018, pro se Defendant Anthony T. Williams
(“Defendant”) filed a document titled “Writ of Objection and Rejection of the
Eradication of the Trial Date” (“11/17/18 Filing”). [Dkt. no. 384.] In the 11/17/18
Filing, Defendant states his objections to:

1)    the granting of Plaintiff the United State of America’s (“the Government”)
      motion for a mental competency evaluation of Defendant; see EO: Court
      Order Granting the Government’s Motion for Judicial Determination of the
      Mental Competency of the Accused, filed 10/1/18 (dkt. no. 331) (“10/1/18
      EO”); and

2)    the continuance of the trial date in light of the competency evaluation, see
      EO: Court Order Directing the Government and Def. Anthony Williams to
      Proceed with Competency Evaluation and Vacating Trial Date, filed
      10/24/18 (dkt. no. 359) (“10/24/18 EO”).

       Defendant has demonstrated that he knows how to seek reconsideration of
this Court’s rulings. See, e.g., Motion for Reconsideration of Court’s 8/21/18
Electronic Order re: “United States’s Motion to Extent the Deadline to Respond to
Defendant’s Motion to Dismiss,” filed 8/22/18 (dkt. no. 305). Defendant did not
identify the 11/17/18 Filing as a motion for reconsideration. This Court therefore
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does not construe Defendant’s 11/17/18 Filing as a motion for reconsideration of
either the 10/1/18 EO, the 10/24/18 EO, or any other ruling in this case.

      The 11/17/18 Filing merely states Defendant’s objections to issues related to
the competency examination. Defendant’s objections are DENIED AS MOOT
because this Court has already ruled on the issues related to the competency
examination. Defendant’s objections in the 11/17/18 Filing are preserved for
purposes of any appeal that may be filed after the entry of judgment in this case.

      IT IS SO ORDERED.

Submitted by: Warren N. Nakamura, Courtroom Manager
